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                       6 Attorneys for Plaintiff
                         NIAGARA BOTTLING, LLC
                       7
                       8                          UNITED STATES DISTRICT COURT
                       9                         CENTRAL DISTRICT OF CALIFORNIA
                      10
                      11 NIAGARA BOTTLING, LLC, a                Case No. 5:17-cv-01689-SJO-JCx
                         Delaware limited liability company,
                      12                                         JOINT STIPULATION TO DISMISS
                                     Plaintiff,
                      13      vs.                                [PROPOSED ORDER FILED
                                                                 CONCURRENTLY]
                      14 AQUAHYDRATE, INC., a California
                         Corporation,
                      15
                                      Defendant.
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Rutan & Tucker LLP         2705/031021-0011
attorneys at law           116139101 a09/24/18                    -1-            JOINT STIPULATION TO DIMSISS
                     Case 5:17-cv-01689-SJO-JC Document 31 Filed 09/24/18 Page 2 of 2 Page ID #:127



                       1             IT IS HEREBY STIPULATED by and between Plaintiff Niagara Bottling,
                       2 LLC and Defendant AQUAHydrate, Inc., by and through their respective counsel of
                       3 record, that all claims in the above-referenced matter be dismissed with prejudice,
                       4 and that the matter be dismissed. Each party shall bear its own costs and fees.
                       5
                       6
                           Dated: September 24, 2018                      RUTAN & TUCKER, LLP
                       7                                                  HANI SAYED
                                                                          BENJAMIN C. DEMING
                       8
                       9                                                  By: /s/ Benjamin Deming
                                                                              Benjamin C. Deming
                      10                                                      Attorneys for Plaintiff NIAGARA
                                                                              BOTTLING, LLC
                      11
                      12 Dated: September 24, 2018                        DLA PIPER LLP (US)
                                                                          STANLEY PANIKOWSKI
                      13
                      14                                                  By: /s/ Stanley Panikowski
                                                                              Stanley Panikowski
                      15                                                      Attorneys for Defendant
                                                                              AQUAHYDRATE, INC.
                      16
                      17
                      18
                                                              L.R. 5-4.3.4 Attestation
                      19
                                     The filer attests that all other signatories listed, and on whose behalf the filing
                      20
                           is submitted, concur in the filing’s content and have authorized the filing.
                      21
                      22
                      23
                                                                          By: /s/ Benjamin Deming
                      24                                                       Benjamin C. Deming
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Rutan & Tucker LLP         2705/031021-0011
attorneys at law           116139101 a09/24/18                              -2-               JOINT STIPULATION TO DIMSISS
